        Case 6:11-cv-01174-DEP Document 185-2 Filed 06/04/13 Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK


FAGE DAIRY INDUSTRY, S.A., FAGE USA
DAIRY INDUSTRY, INC., and FAGE
LUXEMBOURG S.Á.R.L.,
                                                                    Civil Action No.
Plaintiffs,                                                       6:11-CV-1174 (DEP)
v.                                                                    (Lead Case)
GENERAL MILLS, INC., and GENERAL MILLS
IP HOLDINGS II, LLC,
Defendants.


GENERAL MILLS, INC. and GENERAL MILLS
IP HOLDINGS II, LLC, ,
Plaintiffs,
                                                                    Civil Action No.
v.
                                                                  6:12-CV-0920 (DEP)
FAGE DAIRY INDUSTRY, S.A.; FAGE USA                                  (Member Case)
DAIRY INDUSTRY, INC., and FAGE USA
HOLDINGS, INC., FAGE USA, CORP., and FAGE
LUXEMBOURG S.Á.R.L.,
Defendants.

           DECLARATION OF DAVID L. NOCILLY IN SUPPORT OF
     GENERAL MILLS’ MOTION TO EXCLUDE THE EXPERT TESTIMONY OF
          MICHAEL B. MAZIS, HAL PORET, PHILIP JOHNSON, AND
                       JAMES E. MALACKOWSKI

       DAVID L. NOCILLY declares, pursuant to 28 U.S.C. § 1746, that the following is true

and correct:

       1.      I am a member of the law firm of Bond, Schoeneck & King, PLLC, counsel for

Defendants General Mills, Inc. and General Mills IP Holdings II, LLC (together, “General

Mills”) and I make this declaration in support of General Mills’ motion to exclude the expert

testimony of Michael B. Mazis, Hal Poret, Philip Johnson, and James E. Malackowski.




                                             1
         Case 6:11-cv-01174-DEP Document 185-2 Filed 06/04/13 Page 2 of 3



         2.    Attached as Exhibit 1 are true and correct copies of pertinent excerpts of the

certified, unsigned copy of the transcript of Dr. Michael B. Mazis’s deposition, taken on

February 22, 2013.

         3.    Attached as Exhibit 2 is a true and correct copy of the report of Dr. Michael B.

Mazis, dated December 20, 2012.

         4.    Attached as Exhibit 3 is a true and correct copy of the “rebuttal” report of Dr.

Michael B. Mazis, dated March 20, 2013.

         5.    Attached hereto as Exhibit 4 is a true and correct copy of a March 13, 2013 email

from Fage counsel to General Mills’ counsel regarding the rebuttal report of Dr. Michael B.

Mazis.

         6.    Attached as Exhibit 5 is a true and correct copy of the report of James E.

Malackowski, dated January 31, 2013 (filed under seal).

         7.    Attached as Exhibit 6 is a true and correct copy of the report of Hal Poret, dated

September 2012.

         8.    Attached as Exhibit 7 are true and correct copies of pertinent excerpts of the

certified, unsigned copy of the transcript of Hal Poret’s deposition, taken on February 26, 2013.

         9.    Attached as Exhibit 8 is a true and correct copies of the report of Philip Johnson,

dated December 19, 2012.

         10.   Attached as Exhibit 9 are true and correct copies of pertinent excerpts of the

certified, unsigned copy of the transcript of Philip Johnson’s deposition, taken on March 13,

2013




                                                2
        Case 6:11-cv-01174-DEP Document 185-2 Filed 06/04/13 Page 3 of 3



        11.    Attached as Exhibit 10 are true and correct copies of pertinent excerpts of the

certified, signed copy of the transcript of James E. Malackowski’s deposition, taken March 22,

2013.

        12.    Attached as Exhibit 11 is a true and correct copy of the report of Alex Simonson,

dated October 19, 2012.

        13.    Attached as Exhibit 12 are true and correct copies of the report of Anthony F.

Dannible, dated December 21, 2012 (filed under seal).

        14.    Attached as Exhibit 13 are true and correct copies of the rebuttal report of

Anthony F. Dannible, dated March 14, 2013 (filed under seal).

        I declare under penalty of perjury that the foregoing is true and correct.


        EXECUTED on June 4, 2013                      s/David L. Nocilly
                                                      _________________________________
                                                      DAVID L. NOCILLY




                                                  3
